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     Attorney for the Plaintiff
 6

 7
                                     UNITED STATES DISTRICT COURT
 8

 9                                  NORTHERN DISTRICT OF CALIFORNIA

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11

12
     SOHEIL LATCHMAN                                          Case No.: 3:16-cv-05445-JD
13
                      Plaintiff
14

15
                              vs.

16                                      PLAINTIFF’S NOTICE OF VOLUNTARY
     CONTRA COSTA COUNTY; AND CONTRA
                                        DISMISSAL WITHOUT PREJUDICE;
17   COSTA SHERIFF’S DEPUTIES PETES AND
                                        STIPULATION OF COUNSEL
     JOHN DOE NUMBER 1 (IN THEIR
18   OFFICIAL AND INDIVIDUAL
19   CAPACITIES)
20                     Defendants
21

22

23
             TO THIS HONORABLE COURT:

24           WHEREAS all remaining parties to this action who have appeared 1 have joined in the
25
     stipulation attached hereto, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
26

27   __________________

28                   1 Plaintiff voluntarily dismissed Defendant City of San Ramon when he chose not to file

     an amended complaint following the Court’s grant of City of San Ramon’s motion to dismiss, with leave to
     amend. The only defendant remaining in the action, who has appeared, is Contra Costa County.

     LATCHMAN V. CONTRA COSTA COUNTY, ET.AL. [3:16-CV-05445-JD]
     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL; STIPULATION OF COUNSEL                                          !1
                Case 3:16-cv-05445-JD Document 38 Filed 07/18/17 Page 2 of 2



 1   Procedure, Plaintiff hereby gives notice that the above-captioned action is VOLUNTARILY
 2
     DISMISSED WITHOUT PREJUDICE against all Defendants
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 4

 5
                        Respectfully submitted on this 18th day of July, 2017.
 6

 7

 8
                                                       /s/ Mark W. Kelsey
 9                                                     MARK W. KELSEY
10                                                     Counsel for Plaintiff

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12
                                  STIPULATION OF ALL COUNSEL:
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15          IT IS HEREBY STIPULATED AND AGREED, by and between all parties through their
16
     respective counsels, that the above-titled action shall be dismissed without prejudice as to all
17
     defendants, with each party to bear its own costs and fees.
18

19

20
     Dated: July 18, 2017                  SHARON L. ANDERSON
                                           COUNTY COUNSEL
21

22                                         By:     /s/ Nima E. Sohi
                                                   NIMA E. SOHI, Esq.
23                                                 Deputy County Counsel
24                                                 Attorney for Defendant,
                                                   CONTRA COSTA COUNTY
25

26   Dated: July 18, 2017                  By:     /s/ Mark W. Kelsey
                                                   MARK W. KELSEY, Esq.
27
                                                   Law Offices of Mark W. Kelsey
28                                                 Attorney for the Plaintiff


     LATCHMAN V. CONTRA COSTA COUNTY, ET.AL. [3:16-CV-05445-JD]
     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL; STIPULATION OF COUNSEL                                  !2
